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     Attorneys for Plaintiffs                     Attorneys for Defendants
19
20                                UNITED STATES DISTRICT COURT

21                                    DISTRICT OF NEVADA

22 RACHEL SHEPPARD, et al.,                     Case No. 2:18-cv-01120-RFB-VCF

23                  Plaintiffs,                 STIPULATION AND [PROPOSED]
                                                ORDER REGARDING STAY PENDING
24          vs.                                 MEDIATION

25 MANDALAY BAY, LLC, f/k/a
     MANDALAY CORP., et al.,
26
                    Defendants.
27
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          STIPULATION AND [PROPOSED] ORDER RE STAY PENDING MEDIATION
      Case 2:18-cv-01120-RFB-VCF Document 81 Filed 10/26/18 Page 2 of 5




 1          WHEREAS Plaintiffs and Defendants dispute whether Defendants are liable for injuries

 2 sustained by Plaintiffs at the Route 91 Harvest Festival;
 3          WHEREAS related actions regarding Defendants’ potential liability arising from the Route

 4 91 Harvest Festival are pending in this and other jurisdictions;
 5          WHEREAS counsel for the parties in this action and the related actions have met and

 6 conferred, and currently are planning and scheduling a mediation; and
 7          WHEREAS the parties believe that a stay of all pending litigation would facilitate mediation

 8 and make resolution more likely;
 9          WHEREAS the parties are concurrently stipulating to stay this action and related actions,

10 including but not limited to Maggiore v. MGM, No. 2:18-cv-5640 (C.D. Cal.); Pereda v. MGM, No.
11 2-18-cv-5570 (C.D. Cal.); Ramirez v. MGM, No. 2-18-cv-5564 (C.D. Cal.), and the declaratory
12 relief actions filed by Defendants, MGM v. Aase, No. 2:18-cv-06113 (C.D. Cal.); MGM v. Abner,
13 No. 2:18-cv-06197 (C.D. Cal.); MGM v. Corbin, No. 3:18-cv-00168 (D. Alaska); MGM v. Booth,
14 No. 2:18-cv-02250 (D. Ariz.); MGM v. Acosta, No. 2:18-cv-01288 (D. Nev.); MGM v. Eardley, No.
15 2:18-cv-00567 (D. Utah); MGM v. Brasfield, No. 1:18-cv-22883 (S.D. Fla.); MGM v. Archembeault,
16 No. 4:18-cv-02465 (S.D. Tex.); MGM v. Socci, No. 1:18-cv-06451 (S.D.N.Y.);
17          IT IS HEREBY STIPULATED AND AGREED THAT:

18          1. All proceedings in this action shall be stayed pending mediation;

19          2. This stay is conditioned upon the entry of this order and a similar stay order, dismissal,

20 or other resolution in each of the matters identified above within 30 days;
21          3. The parties shall report to the Court on the status of the mediation within 60 days of entry

22 of the stay in this action, and then every 60 days thereafter;
23          4. Any party may revoke its agreement to stay this action by providing the other parties and

24 the Court 15 days’ written notice; and
25          5. If either the conditions of the stay are not satisfied, or any party revokes its agreement to

26 stay this action, the PMK deposition noticed by Plaintiffs of MGM’s and CSC’s PMK’s shall occur
27 within 14 days after either the expiration of the 30-day period described in Paragraph 2 or revocation
28 of this agreement becomes effective.
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         STIPULATION AND [PROPOSED] ORDER REG STAY PENDING MEDIATION
     Case 2:18-cv-01120-RFB-VCF Document 81 Filed 10/26/18 Page 3 of 5




 1 DATED: October 25, 2018             ROBINSON CALCAGNIE, INC.

 2
 3                                     /s/ Mark P. Robinson, Jr.
                                       Mark P. Robinson, Jr.
 4                                     Daniel S. Robinson

 5 DATED: October 25, 2018             ELGET PRINCE

 6
 7                                     /s/ Robert T. Eglet.
                                       Robert T. Eglet
 8                                     Richard K. Hy
                                       Robert M. Adams
 9
10 DATED: October 25, 2018             PANISH SHEA & BOYLE LLP

11
12                                     /s/ Kevin R. Boyle
                                       Kevin R. Boyle
13                                     Rahul Rayipudi

14                                     Counsel for Plaintiffs

15
16 DATED: October 25, 2018             PISANELLI BICE PLLC

17
18                                     /s/ James J. Pisanelli.
                                       James J. Pisanelli
19                                     Todd L. Bice
                                       Debra L. Spinelli
20
     DATED: October 25, 2018           MUNBER TOLLES & OLSON LLP
21
22
                                       /s/ Bethany W. Kristovich.
23                                     Brad D. Brian
                                       Michael R. Doyen
24                                     Daniel B. Levin
                                       Bethany W. Kristovich
25
                                       Attorneys for MGM Resorts International,
26                                     Mandalay Bay, LLC, Mandalay Resort Group,
                                       MGM Resorts Festival Grounds, LLC, MGM
27                                     Resorts Venue Management, LLC

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                                     -2-
         STIPULATION AND [PROPOSED] ORDER RE STAY PENDING MEDIATION
     Case 2:18-cv-01120-RFB-VCF Document 81 Filed 10/26/18 Page 4 of 5




1 IT IS SO ORDERED:
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         October 26, 2018
3 DATED: __________________            _______________________________________
                                       RICHARD F. BOULWARE, II
4                                      United States District Judge
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        STIPULATION AND [PROPOSED] ORDER RE STAY PENDING MEDIATION
     Case 2:18-cv-01120-RFB-VCF Document 81 Filed 10/26/18 Page 5 of 5




1
                                       CERTIFICATE OF SERVICE
2
            I hereby certify that on this 25th day of October 2018, I caused to be electronically filed the
3
     foregoing via the Court’s Electronic Case Filing (ECF) system. I understand that notification of this
4
     filing will be sent to all counsel of record in this matter who are on the Court’s CM/ECF service list.
5
6
                                                   /s/ Bethany W. Kristovich.
7                                                  Bethany W. Kristovich

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          STIPULATION AND [PROPOSED] ORDER RE STAY PENDING MEDIATION
